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                                                         DATE FILED: 1/11/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                       ADDENDUM TO
                  v.                                 PROTECTIVE ORDER

 ANTHONY LALLAVE,                                         20 Cr. 536 (VEC)
  a/k/a "Tone,"
 MICHAEL LILLO,
  a/k/a "Snow," and
 DEWESE HUGHES,
  a/k/a "Special,"

                         Defendants.


       The United States and defendant MICHAEL LILLO, a/k/a "Snow," through the

undersigned counsel, hereby consent and agree to be bound by the terms of the Protective Order

entered by the Court on November 17, 2020. (Dkt. 21 ).


Dated: New York, New York
        11 2021
January _,

       AUDREY STRAUSS                                    COUNSEL FOR
       Acting United States Attorney                     MICHAEL LILLO
       for the Southern District of New York



    B y:    V*---
            Jacob R. Fiddelman
            Mollie Bracewell
                                                  By:    �Ll_--��---­
                                                         Brian Kaplan, Esq.

            Assistant United States Attorneys

SO ORDERED:


HONORABLE VALERIE E. CAPRONI
UNITED STATES DISTRICT JUDGE
